            Case 1:21-cr-00083-TNM Document 47 Filed 10/06/21 Page 1 of 7




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 21-CR-83 (TJM)
       v.                                    :
                                             :
BRANDON FELLOWS,                             :
                                             :
                Defendant.                   :

 GOVERNMENT’S RESPONSE TO PRO SE MOTION FOR RECONSIDERATION OF
                     ORDER OF DETENTION

       The United States of America, by and through its attorney, the Acting United States

Attorney for the District of Columbia, respectfully submits Defendant, Brandon Fellows, has failed

to proffer any information which exists “that was not known to the movant at the time of the

hearing and that has a material bearing on the issue whether there are conditions of release that

will reasonably assure the appearance of such person as required and the safety of any other person

and the community.” Title 18, U.S.C. §3142(f). For the reasons set forth below, the government

requests that the Court deny the Defendant’s motion.

                                        BACKGROUND

       The defendant was charged by Complaint on January 15, 2021, with violating Title 18,

U.S.C. § 1752(a)(knowingly entering or remaining in any restricted building or grounds without

lawful authority) and Title 40, § 5104(e)(2)(violent entry or disorderly conduct), misdemeanors

concerning his presence and actions during the January 6, 2021 riots at the Capitol Building

(ECF Doc. 1, Complaint). Defendant was arrested on January 16, 2021, in Albany, New York

(Doc. 8 at 1, Returned Arrest Warrant). On January 16, 2021, defendant had a first appearance,

and was released on bond in the Northern District of New York (Id. at 23, Order to Release; 25-

26, Minute Entry). The Magistrate Judge set another hearing in order to first review a Pretrial
           Case 1:21-cr-00083-TNM Document 47 Filed 10/06/21 Page 2 of 7




Services report to decide if the defendant was a flight risk 1 under Title18, U.S.C. § 3142(f)(2(A)

(Id. at 23, Order to Release; 25-26, Minute Entry). The Court decided to release the defendant,

but ordered certain conditions including home detention and electronic monitoring (Id. at 21,

Conditions of Release).

         On February 3, 2021, the defendant appeared before Magistrate Judge Robin M.

Meriweather via video and was placed on GPS monitoring and a curfew of 9:00 p.m. to 6:00

a.m. (Doc. 9 at 2, Order Setting Conditions of Release). Magistrate Judge Meriweather further

ordered that the defendant actively seek or maintain employment and report any contact with law

enforcement (Id.).

         On February 5, 2021, the grand jury indicted the defendant on the four misdemeanors

and added a felony violation under Title 18, U.S.C. §§ 1512(d)(2) and 2 for Obstruction of an

Official Proceeding and Aiding and Abetting the same (ECF Doc. 6).

         In support of its recommendation in the June 14, 2021 violation report, PSA relayed that

defendant had a mental evaluation appointment for 11:00 am today (June 14, 2021), but called the

agency and cancelled because he was not feeling well. When the USPO officer talked with him he

asked to be able to work, despite “not feeling great.” He was told no, then asked the USPO officer

“have you checked your hormones.” He was called again, directed to report to the US Probation

officer by the supervisory USPO at 3:45 June 14, 2021.

         Shortly after that last call, the USPO officer learned that a man had called the USPO’s

mother, who lives in another state, and the man was asking for the USPO and asked twice if that

was the correct number for the USPO, using the full name of the officer. The mother offered to

pass a message to the USPO, and the caller said he would just contact the USPO on their “other


1
  According to the agents and reports in this case, the defendant had told the FBI he would self-surrender but failed
to do so causing law enforcement to search for him by obtaining legal process for real time location information.
          Case 1:21-cr-00083-TNM Document 47 Filed 10/06/21 Page 3 of 7




numbers”. Caller ID identified the caller’s number as the same number used by Defendant to

contact US Probation for official business.

       Lastly, USPO indicated a prior instance when Defendant was allegedly harassing a former

girlfriend. Ultimately Defendant was found to be in violation of an Order of Protection. When the

clerk of the court tried to call Defendant at the number he had listed as his contact on official court

records, the number was forwarded to the Judge’s wife’s office.

       The Court held a hearing on the Petition for Warrant and to revoke his release on July 14-

15, 2021. After a hearing over two days during which witnesses testified, the Court revoked the

Defendant’s release (ECF Doc. 37, Trans. of 7-15-21 Hrg. at 6, 8-9)(Attachment A).

                                      ARGUMENT AND LAW

       The applicable statute, 18 U.S.C. § 3142 (f), states a detention hearing may be reopened:

           at any time before trial if the judicial officer finds that information exists that
           was not known to the movant at the time of the hearing and that has a
           material bearing on the issue whether there are conditions of release that will
           reasonably assure the appearance of such person as required and the safety of
           any other person and the community. (Emphasis added.)

       Defendant seems to focus on his abiding by the Court’s order while on release to find work

and to report as directed. (ECF Doc. 45, Def. Motion for Objection to Bond Revocation, at 6).

However, Defendant’s work and reporting requirements were not at issue during his final

revocation hearing on July 14, 2021. (ECF Doc. 29 at 3; ECF Doc. 46, Trans. of 7-14-21 Hrg. at

10-12) (Attachment B). Rather, he was revoked for failing to attend the “mental health evaluation

and to comply with all treatment recommendations.” (Doc. 29 at 3; ECF Doc. 37, Trans. of 7-15-

21 Hrg. at 6, 8-9). The evaluation was a condition ordered by the Court at Defendant’s second

revocation hearing June 4, 2021 (Min. Entry of June 4, 2021). The second part of Defendant’s

revocation on July 14 was his pattern of conduct– culminating in his intimidation and continued
         Case 1:21-cr-00083-TNM Document 47 Filed 10/06/21 Page 4 of 7




harassment of the USPO officer – which made it clear there were no conditions or combinations

of conditions that Defendant would follow if released. (Doc. 37, Trans. 7-15-21 at 9). Defendant

was then sanctioned as allowed by statute for violating a condition of release coupled with the

finding that no condition nor combination of conditions would guarantee Defendant would abide

by those conditions of release. 18 U.S.C. §3148(b)(1)(B) and (2)(B); United States v. Aron, 904

F.2d 221, 224 (5th Cir. 1990).

       Defendant alleges he was denied a chance to offer the court the “full context, present the

truth, point out the prosecutions’ lies, and offer explanations.” (ECF. No. 45, Def’s Pro Se Motion,

at 1, 3). However, the Court recessed on July 14 and reconvened the next day specifically to allow

Defendant time to consult with not one but two attorneys about this decision. (Doc. 46, Trans. 7-

14-21 at 77-79). Defendant decided not to testify at the revocation hearing, after consulting with

his attorney and getting a second opinion about the soundness of testifying from a second attorney.

(Doc. 37, Trans. 7-15-21 at 2-3).

       Defendant indeed was given the chance to present his explanations to the revocation

allegations through his attorney’s cross-examination of witnesses and her zealous arguments. The

fact that he canceled but rescheduled the mental health evaluation was brought out by the cross

examination of witnesses (Doc. 46, Trans. 7-14-21 at 14, 67, 71). Thus, his defense to failing to

attend the evaluation (that he merely rescheduled it) was an issue known by the Court prior to

ruling. Defendant’s defense to the allegations of danger was also entered into the record as ECF

No. 32. This exhibit contained his texts and screen shots in which he explained what he did. He

told the USPO didn’t have her number to call her. He claimed his SIM card didn’t work and he

couldn’t access his Probation Officer’s phone number, so he googled her name and called a number

in another state connected to the USPO officer. This number was that of the USPO’s mother, and
          Case 1:21-cr-00083-TNM Document 47 Filed 10/06/21 Page 5 of 7




Defendant’s actions were clearly meant to intimidate the USPO officer. He had done this before,

when he called the wife of the judge in a city case for violation of a protective order in 2020. (Doc.

46, Trans. 7-14-21 at 34-36, 44-46; Doc. 37, Trans. 7-15-21 at 8). What Defendant truly objects to

is the fact that his release was revoked at all.

        The information Defendant wishes to present, as evidenced by the affidavit contained

within his motion, was information known to him at the time of the hearing in July. Since

Defendant’s work history was not relevant to the violations alleged when the Court revoked his

release, presenting evidence that his prior work schedule was why he rescheduled his mental health

evaluation has no material bearing on the condition he violated. United States v. Worrell, No.21-

CR-00292-RCL, 2021 WL 2366934, at *1 (D.D.C. June 9, 2021) (“…the Court finds that there

are no previously unknown facts having a “material bearing” on the issue whether there are

conditions of release that will reasonably assure the safety of others and the community.”) See also

United States v. Hite, 76 F. Supp. 3d 33, 43 (D.D.C. 2014), aff'd, 598 F. App'x 1 (D.C. Cir. 2015);

United States v. Peralta, 849 F.2d 625, 626 (D.C. Cir. 1988). He told the USPO officer he didn’t

go to the evaluation because his sleep cycle was disrupted by storms – not because of a work

schedule. Trans. 7-14-21 at 61-62. This conflicting rationale for disobeying the Court’s order does

not justify reopening the detention hearing under 18 U.S.C. §3142(f), and frankly reflects poorly

upon Defendant’s veracity. A decision not to present this to the Court appears to have been sound

strategy on the part of defense counsel.

        Even if the Court were to allow the detention hearing to be reopened, Defendant’s own

motion raises serious concerns that he would follow the Court’s direction. After all, he had three

revocation hearings in three months, all with different allegations of failing to follow the Court’s

orders. He continues to refuse to accept responsibility or even acknowledge his behavior violated
          Case 1:21-cr-00083-TNM Document 47 Filed 10/06/21 Page 6 of 7




the Court’s orders. As the Court stated in the July 15th hearing “I think the defendant, at least

overall, has shown a pretty sustained contempt for the government and the court system.” Trans.

7-15-21 at 6. Defendant is inherently inconsistent, stating he has “’gotten better” at following the

Court’s rules, yet picking which orders he will obey. He maintains his innocence saying that most

of the allegations are “false” or “missing context”. (ECF Doc. 45, Def’s Mtn. at 6). Defendant

argues that the USPO officer “threatened” him, that the prosecution made “false assertions” and

that he was “abused by the prosecution and her corrupt agencies.” (Doc. 45, Def’s Mtn. at 6, 8).

Defendant clearly believes himself a victim of the legal system, and if released he “won’t abuse

the courts time or waste the taxpayers [sic] dollars like they have.” Id. The legal system he holds

in contempt includes his own stand-by attorney.

                                         CONCLUSION

       Defendant complains that his attorney sold him a bill of goods, and that he wants a refund

(Doc. 45 at 3). Defendant claims his attorney did not want to offer his evidence or object, while at

the same time saying in open court on September 7, 2021 that he wanted to keep his court

appointed counsel as his stand-by counsel. This demonstrates his contempt for the legal system

while at the same time demanding it protect him from himself. Defendant does not recognize the

basic premise that while on release he must obey the Court and the United States Probation Office,

as evidenced by his demand that “bond [be] reinstated with as little restrictions as possible.” (Doc.

45, Def’s. Mtn. at 1).
          Case 1:21-cr-00083-TNM Document 47 Filed 10/06/21 Page 7 of 7




       He is entitled to neither a reopening of the detention hearing nor to release from custody.

The Government requests the Court deny defendant’s motion.


                                    By:               /s / Mona Lee M. Furst
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                                   CERTIFICATE OF SERVICE
          On this 6th day of October, 2021, a copy of the foregoing was served on standby
 counsel of record for the defendant via the Court’s Electronic Filing System and sent via FedEx
 to the defendant at D.C. Jail, 1901 D Street, Washington, DC 2003.
                                                            /s/Mona Lee M. Furst
                                                 Mona Lee M. Furst
                                                 Assistant United States Attorney
